                   Case 3:97-cr-00082-CCC                 Document 3313               Filed 03/03/06          Page 1 of 2
qAO 245D        (Rev.12i03)Judgmentina         Casefor Revocations
                SheetI



                                         NITED STETNSDISTRICTCOUNT
                             For                               District of                             PuertoRico
         TINITED STATES O}                ERICA                         JUDGMENT IN A CRIMINAL CASE
                     V.                                                 (For Revocation ofProbation or SupervisedRelease)


          LUIS COLLAZO-VT                                               CaseNumber:                    97-CR-87SEC)
                                                                        USM Number:                    54
                                                                        AFPD.FRANCISCOVALCARCEL
                                                                        Defendant's Attomey
THE DEFENDANT:
X    admittedguilt to violation of              s) Standard& SpecialConditionand2, 6 and 1l of thetermof supervision'

I    wasfoundin violationof condi                                                    afterdenialof guilt.
The defendant is adjudicated guilty


Violation Number                                                                                                  Violation Ended
SpecialCondition                         to participatein a substanceabusetreatrnentuntil duly discharged.        3/4/05
                                                                                                                  10/28105; ll/23/04;
Condition#2                              to reportto theprobationofficer.                                         I2l0ll0s
Condition#2                              to submita written reportto the probationofficer.                        SinceJuly 2005
                                                                                                                  Sl05;610S;7 105;8105;
Condition#6                              to notiff l0 daysprior to anychangein residenceor employment.            9/05; 10/05
StandardCondition                        tteda local crime                                                        ll/12/05
Condition#11                             to notify the probation officer within 72 horus of being arrested.        tln6/05

      The defendant is sentenced         providedin pages2 through           2       of thisjudgment.The sentence
                                                                                                                is imposedpursuantto
the Sentencing Reform Act of 1

D ttre defendanthasnot violated             ition(s)                             and is dischargedas to such violation(s) condition.


          It is ordered that the          nt mustnotifu theUnitedStatesattornevfor this districtwithin 30 daysof any
changeof name, residence,or ma             addressuntil all fines,restitution,cost6,andspecialassessments        by thisjudgmentare
                                                                                                         ir,nposed
fully-paid. If ordered to piy resti       n, the defendantmustnotirythe courtandUnittd Statesattomeyof matenalchanges      tn
economrccrrcumstances.

Defendant's Soc. Sec. No.                                               MARCH 3.2006
                                                                        Dateof Impositionof Judgment
Defendant's Date of Birth:


                                                                        S/ SalvadorE. Casellas
                                                                        Signature of Judge
Defendant's ResidenceAddress:



                                                                        SALVADOR E. CASELIAS, U.S. DISTRICT COURT
                                                                        NameandTitle of Judge


                                                                        MARCH      3.2006

Defendant'sMailing Address:
               Case 3:97-cr-00082-CCC                 Document 3313           Filed 03/03/06        Page 2 of 2
AO245D      (Rev.12103Judgmentina     Casefor Revocations
            Sheet2- Imprisonment

                                                                                            Judgment-Page _2-      of   2
DEFENDANT:                LUIS               VILLODA
CASENUMBER:               97-CR     (s4)(sEc)

                                                    IMPRISONMENT

       The defendantis herebv ittedto the custodyof the United StatesBureauof Prisonsto be imprisonedfor a
totaltermof : TWELVE (1 MONTHS.




   n   The court makesthe foll          recommendationsto the Bureau of Prisons:




   X   The defendant is             to the custodyof theUnited StatesMarshal.

   n The defendantshall                to the United StatesMarshalfor this district:
       trat                              !     a.m.    !    p.-.    on

       !     as notified by the     StatesMarshal.

   tr The defendant shall           for service ofsentence at the institution designatedby the Bureau ofPrisons:

       !     before2 p.m. on

       fl    asnotified by the U    StatesMarshal.

       n     asnotifredby the         or Pretial ServicesOffice.


                                                           RETURN
I have executedthis judgment as




       Defendant delivered on

                                             with a certified copy of this judgment.




                                                                                          I-JNITEDSTATESMARSTIAL


                                                                   By
                                                                                       DEPUTY UNITED STATESMARSHAL
